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                          UNITED STATES DISTRICT COURT 
                     FOR THE WESTERN DISTRICT OF MICHIGAN 
                               SOUTHERN DIVISION 
                                            
MELVIN C. BURNS, II 
 
        Plaintiff, 
 
‐vs‐                                            File No: 1:07cv98 
                                                Honorable Gordon J. Quist 
 
CITY OF MUSKEGON HEIGHTS and  
RILLASTINE WILKINS,  
 
        Defendants. 
__________________________________/ 
Stephen L. Grimm  (P42555)               Robert A. Callahan  (P47600) 
Traci M. Kornak  (P45468)                PLUNKETT & COONEY PC 
GRIMM & KORNAK                           Attorney for Defendants  
Attorneys for Plaintiff                  535 S. Burdick, Suite 256 
44 Grandville Ave., SW                   Kalamazoo, Michigan  49007 
Grand Rapids, MI  49503                  (269)  382‐5935 
(616)  458‐8000 
 
                              JOINT STATUS REPORT 
 
        A Rule 16 Scheduling Conference is scheduled for the 9th day of March, 2007, at 

10:30 am.  Appearing for the parties as counsel will be: 

       Stephen L. Grimm and Traci M. Kornak, on behalf of Plaintiff  

       Robert A. Callahan, on behalf of Defendants  

1.     Jurisdiction:   The basis for the Court’s jurisdiction is federal question jurisdiction 

pursuant to 28 U.S.C. §1331; and supplemental jurisdiction pursuant to 28 U.S.C. §1367.  
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2.     Jury or Non‐Jury:  The case is to be tried before a jury, pursuant to Defendants’ 

demand for jury filed on February 6, 2007. 

3.     Judicial Availability:      The parties agree to have a United States Magistrate 

Judge conduct any and all further proceedings in the case, including trial, and to enter 

order of final judgment.  

4.     Geographical Transfer:  The parties agree that transfer for geographic 

convenience is not warranted in this case. 

5.     Statement of the Case:   

       Plaintiff was employed by the Defendant as the City Manager for 14 years. 

Plaintiff had a contract with Defendant that governed some of the terms of his 

employment.    

       During his employment performed his duties in a manner that was satisfactory 

and/or issues related to his performance he was notified by the Personnel Policy Review 

Committee and a plan was formulated to address it prior to it being brought to the City 

Council.  Prior to his termination Plaintiff was never notified in the manner and method 

provided  above  and/or  the  usual  and  customary  manner  that  he  had  performance 

related issues that were serious enough to be dischargeable offenses. 

       In  March  2006  the  Muskegon  Tribune  published  an  editorial  cartoon  and 

editorial opinion critical of Defendant Wilkins. Defendant Wilkins was outraged about 

the published piece and believed the Plaintiff was behind it.  On/about March 27, 2006 



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Defendant called for a vote to terminate Plaintiff at an open meeting without any notice 

to  Plaintiff  alleging  he  was  negligent  not  reprimanding  the  housing  inspector  for 

action/s  that  were  not  reprimandable.    Following  his  termination  in  an  effort  to  avoid 

paying Plaintiff severance it claimed that he for used his computer acts involving moral 

turpitude. 

        Plaintiff  claims  he  was  terminated  without  a  proper  hearing  or  meaningful 

opportunity  to  respond  to  the  charges  against  him  in  violation  of  his  civil  and 

constitutional  due  process  rights.    Before  depriving  Plaintiff  of  his  constitutionally 

protected  property  interest  in  continued  employment,  Defendants  did  not  conduct  a 

pretermination  hearing  or  otherwise  afford  Plaintiff  notice  of  the  grounds  for  his 

termination and a meaningful opportunity to respond.  Plaintiff has also alleged that he 

relied on the policies, practices and procedures of Defendant that created a reasonable 

expectation of continued employment. 

       Plaintiff  further  alleges  that  Defendant  breached  its  contract  relating  to  his 

termination and severance pay or approximately $72,000.00.  Moreover, Defendant has 

refused to pay Plaintiff his earned compensation classified as accrued sick and accrued 

vacation. 

       Finally,  Plaintiff  alleges  a  claim  for  defamation  based  on  statements  made  to 

third  parties  and/or  media  outlets  that  falsely  accused  him  of  engaging  unethical, 

unprofessional and unlawful behavior. 



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Defendants’ Statement:           Defendants contend Plaintiff was an at‐will employee at the 

City of Muskegon Heights.  He served at the pleasure of the City Council.  Defendant 

Rillastine  Wilkins,  as  the  Mayor,  had  only  one  vote  on  decisions  made  by  the  City 

Council.    Plaintiff  did  not  perform  his  job  in  a  satisfactory  manner.    Prior  to  2005, the 

City  was  warned  it  could  lose  its  insured  status  with  the  Michigan  Municipal  League 

Liability and Property Pool.  The City also had been advised, by outside counsel, there 

was  a  possibility  the  State  of  Michigan  could  take  over  the  control  of  government 

functions for the City of Muskegon Heights.   

        Prior to November 2005, the composition of the Muskegon Heights City Council 

was such that Plaintiff had enough support to continue his employment.  As a result of 

elections  in  2005,  Plaintiff’s  supporters  were  replaced  by  Council  members  who  were 

not supporters of Plaintiff.  As a result, in March, 2006, Plaintiff’s position at the City of 

Muskegon  Heights,  as  City  Manager,  was  terminated.    Following  Plaintiff’s 

termination, it was discovered inappropriate images were on Plaintiff’s work computer, 

indicating  Plaintiff  had  been  accessing  web  sites  to  obtain  inappropriate  images.  

Although  the  discovery  of  this  fact  did  not  lead  to  Plaintiff’s  termination,  it  is  after 

acquired evidence which would have resulted in his termination, once discovered. 




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         Defendants  deny  Plaintiff  was  denied  due  process  of  law,  wrongfully 

discharged, or was defamed in any manner in this case. 

6.       Pendent State Claims:  This lawsuit involves pendent state claims, for breach of 

contract, wrongful termination, and defamation. 

7.       Joinder of Parties and Amendment of Pleadings:

The parties expect to file all motions for joinder of parties to this action, and to file all 

motions to amend the pleadings, by March 29, 2007. 

8.       Disclosure and Exchanges: 

(i)      The parties believe that initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1), are 

appropriate, with disclosures to be made by Plaintiffs by April 27, 2007; Defendants by 

May 11, 2007.   

(ii)            The  Plaintiff  expects  to  be  able  to  furnish  the  names  of  the  Plaintiff’s 

known  witnesses,  including  all  experts,  to  the  Defendant  by  May  25,  2007.    The 

Defendants  expect  to  be  able  to  furnish  the  names  of  Defendants’  known  witnesses, 

including all experts, to the Plaintiff by May 27, 2007. 

         In this case, it would be advisable to exchange written expert witness reports as 

contemplated by Fed. R. Civ. P. 26(a)(2).   

 (iii)  The parties have agreed to make available the following documents without the 

need for formal request for production: 




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        From  Plaintiff  to  Defendants  by  April  27,  2007:    All  document  disclosed  by 

Plaintiff as set forth in Fed. R. Civ. P. 26(a)(1)(B).   

        From  Defendants  to  Plaintiff  by  May  11,  2007:    All  documents  disclosed  by 

Defendants as set forth in Fed. R. Civ. P. 26(a)(1)(B).   

9.      Discovery:

The  parties  believe  that  all  discovery  proceedings  can  be  completed  by  September  28, 

2007.  The parties recommend the following discovery plan:   

All  fact  discovery  to  be  completed  by  August  28,  2007;  all  discovery  of  experts  to  be 

completed by September 28, 2007.  The presumptive limits to discovery set forth in the 

Order  Setting  Rule  16  Conference,  specifically  25  interrogatories  per  side,  and  10 

depositions per side, lasting no more than 7 hours each, are agreed to. 

10.     Motions:

It is anticipated Defendants shall be filing a motion for summary judgment.  The parties 

anticipate that all dispositive motions will be filed by October 15, 2007.   

11.     Alternative  Dispute  Resolution:    Plaintiff’s  preferred  method  of  alternative 

dispute  resolution  is  voluntary  facilitative  mediation.    Defendants  do  not  agree  to 

facilitative  mediation.  Defendants  propose  Michigan  case  evaluation  after  discovery 

closes. 




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12.        Length of Trial:  Counsel estimates that the trial will last approximately 6 days 

total, allocated as follows:  3 days for Plaintiff’s case and 2‐1/2 days for Defendant’s 

case.   

13.        Prospects of Settlement:  The status of settlement negotiations is that no demands 

have been made.  Plaintiff  believes this is a case that settlement should be explored in 

good faith early on.  Defendants do not anticipate settlement is possible at this point in 

time. 

14.        Electronic Document Filing System:        Counsel  acknowledge  having  read  the 

“Notice to Counsel Regarding Electronic Filing,” attached to the Order Setting Rule 16 

conference.  Counsel agrees this case is suitable for electronic case filing and counsel are 

prepared to participate. 

15.        Other:  There are no special characteristics that may warrant extended discovery, 

accelerated disposition by motion, or other factors relevant to this case. 




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Dated:  March 6, 2007                           /s/ Traci M. Kornak 
                                                Traci M. Kornak (P45468)            
                                                Attorney for Plaintiff 
 
Dated:  March 6, 2007                             /s/ Robert A. Callahan                
                                                    Robert A. Callahan  (P47600) 
                                                    Attorney for Defendants  
 
 




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